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                   UNITED STATES COURT OF APPEALS

                          FOR THE NINTH CIRCUIT


UNITED STATES OF AMERICA,                No. 22-16128

            Plaintiff-Appellee           D.C. No. 2-21-mc-00098-TLN-AC
                                         Eastern District of California,
v.                                       Sacramento

DAVID ZINNEL,

            Claimant-Appellee

v.

STEVEN ZINNEL,

            Defendant-Appellant.


            OPPOSITION TO STEVEN ZINNEL’S MOTION TO
     DISMISS AND/OR STRIKE DAVID ZINNEL AS AN APPELLEE AND
                MOTION TO CHANGE CASE CAPTION

                                       K. Greg Peterson, Esq. (SBN: 118287)
                                       K. GREG PETERSON, a Professional
                                       Law Corporation
                                       455 Capitol Mall, Suite 325
                                       Sacramento, C 95814
                                       Telephone: (916) 443-3010
                                       Facsimile: (916) 492-2680
                                       Email:     greg@kgregpeterson.com

                                       Attorney for JENNIFER ZINNEL,
                                       Personal Representative of Appellee,
                                       DAVID ZINNEL, Trustee of The Castana
                                       Trust and Residuary Beneficiary
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      Claimant-Appellee DAVID ZINNEL, successor trustee and residuary

beneficiary of The Castana Trust, by and though his personal representative and

wife, JENNIFER ZINNEL, submits the following in response to this Court’s Order

dated July 19, 2023 (DktEntry 14) and opposition to STEVEN ZINNEL’s motion

to dismiss and/or strike David Zinnel as an appellee and motion to change case

caption.

1.    Standing.

      Jennifer Zinnel has standing to file her Motion to Substitute by virtue of her

admitted relationship as the former wife and personal representative of David Zinnel

(deceased), and her standing is also conferred by Fed. R. App. P. 43(a)(1). Ms.

Zinnel’s May 8, 2023, filing was made in direct response to this Court’s Order dated

April 10, 2023 (DktEntry 11).

      David Zinnel’s standing in the underlying garnishment proceedings in the

cases Steven Zinnel has entitled Misc. Case #1 and Misc. Case #2 arose due to David

Zinnel’s admitted status as successor trustee and as a beneficiary of the Castana

Trust, making him an interested party and stakeholder in both garnishment actions.

Both cases involve the USA’s garnishment of certain IRA Account proceeds held by

TD Ameritrade that David Zinnel contended was property of The Castana Trust. In

Misc. Case #1 David Zinnel filed a Third-Party Claim (DktEntry 12, Exhibit 1

thereto). In Misc. Case #2 David Zinnel filed an Answer and Supplement to Answer


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as the Garnishee TD Ameritrade (Exhibits A and B, respectively, hereto).

Ultimately, David Zinnel was also a party to a settlement reached in Misc. Case #1

(DktEntry 12, Exhibit 2 thereto) with Steven Zinnel and the USA that resulted in a

binding agreement to allow the garnishment and levy of certain amounts from the

TD Ameritrade IRA Account which were paid over to the USA, with Steven Zinnel

also agreeing the remaining balance would be transferred by TD Ameritrade to The

Castana Trust.

      For the above-stated reasons the estate of David Zinnel and office of the

trustee of The Castana Trust are parties, stakeholders and real parties in interest to

these proceedings and thus have standing in these proceedings.

      2.     Delay of Briefing Schedule.

      As indicated in the Motion for Substitution filed by Jennifer Zinnel

(Dkt.Entry 12, pages 4-5, Exhibits 5 & 6 thereto) there are two petitions pending

in the Sacramento Probate Court that will presumably formally establish Michael

Brumbaugh as the administrator of David Zinnel’s probate estate and as successor

trustee to The Castana Trust. Although these are the reasons for Jennifer Zinnel’s

original suggestion that this Court delay any briefing schedule for a reasonable

period of time after August 30, 2023, this request is moot at this point and given the

significant likelihood both petitions will be granted and in order to expedite the




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resolution of this appeal Jennifer Zinnel requests that this Court set a briefing

schedule in this appeal as soon as possible.

      3.     Scope of Steven Zinnel’s Appeal.

      Steven Zinnel cites to a list of “contemplated issues on appeal” mentioned in

an attachment to his Motion and Affidavit for Permission to Proceed in Forma

Pauperis (DktEntry 8, Page 8 of 17) as his evidence that Jennifer Zinnel and this

Court know what issues he intends to appeal. If this is any indication of what is to

be included in Steven Zinnel’s appeal he clearly intends to include direct challenges

to the settlement (see items 2, 4 & 5 of Steven Zinnel’s list), and David Zinnel’s

probate estate and The Castana Trust have a stake in upholding the validity and

enforcement of the settlement agreement made by Steven Zinnel. The balance of

Steven Zinnel’s arguments in his papers and list of issues appear to relate to the other

relief he is seeking in his appeal and until those matters are properly established and

briefed, Jennifer Zinnel declines to address them further here.

      For the above-stated reasons Jennifer Zinnel submits Steven Zinnel’s motions

to dismiss and/or strike David Zinnel as an appellee and his motion to change the

case caption should and must be denied.

///

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///


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Dated: July 25, 2023                 Respectfully submitted,

                                      K. GREG PETERSON, a Professional Law
                                      Corporation


                                      By: /s/ K. Greg Peterson
                                           K. Greg Peterson, Esq., Attorney
                                      For JENNIFER ZINNEL, Personal
                                      Representative of Appellee DAVID
                                      ZINNEL, Trustee of The Castana Trust and
                                      Residuary Beneficiary




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                           CERTIFICATE OF SERVICE

      I certify that I served on the person(s) listed below, either by mail, email or

hand delivery a copy of the within OPPOSITION TO STEVEN ZINNEL’S

MOTION TO DISMISS AND/OR STRIKE DAVID ZINNEL AS AN APPELLEE

AND MOTION TO CHANGE CASE CAPTION.

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Office of the US Attorney
Eastern District of California
501 I Street, Suite 10-100
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Steven Zinnel, In Pro Se
11 Verdin Lane
Aliso Viejo, CA 92656



Dated: July 25, 2023                                /s/ Karen Traugh
                                                    Karen Traugh




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                                 Email:       greg@kgregpeterson.com
                           5
                                 Attorney for Garnishee DAVID ZINNEL
                           6
                           7
                           8                           IN THE UNITED STATES DISTRICT COURT

                           9                              EASTERN DISTRICT OF CALIFORNIA

                        10
                                 UNITED STATES OF AMERICA,                  ) Case No. 2:21:mc-00143-TLN-CKD
                        11                                                  )
                                       Plaintiff,                           ) SUPPLEMENT TO ANSWER OF DAVID
                        12                                                  ) ZINNEL, GARNISHEE
                        13       v.                                         )
                                                                            )
                        14       STEVEN ZINNEL,                             )
                                                                            )
                        15             Defendant and Judgment Debtor.       )
                                                                            )
                        16
                                                                            )
                        17       DAVID ZINNEL, SUCCESSOR                    )
                                 TRUSTEE OF THE CASTANA TRUST,              )
                        18       DATED MARCH 4, 2009,                       )
                                                                            )
                        19             Garnishee.                           )
                        20                                                  )

                        21
                        22             I, DAVID ZINNEL, Successor Trustee of The Castana Trust, dated March 4, 2009,
                        23       hereby declares:
                        24             1.      I am the Garnishee.
                        25             2.      On or about June 18, 2021, an Acknowledgment of Service and Answer of
                        26       Garnishee (“Answer”) was filed in the within matter on my behalf by my counsel of record,
                        27       K. Greg Peterson, Esq.
                        28


          ■
K.GREG PETERSON
A PROFESSIONAL LAW CORPORATION
                                                                            -1-
                                                    SUPPLEMENT TO ANSWER OF DAVID ZINNEL, GARNISHEE      EXHIBIT B
                                         Case: 22-16128, 07/25/2023, ID: 12761541, DktEntry: 15, Page 90 of 96
                                        Case 2:21-mc-00143-TLN-AC Document 47 Filed 08/02/21 Page 2 of 8



                                  1           3.     The information provided below is intended to supplement paragraph 3 of

                                 2      said Answer regarding property vested in the name of the Castana Trust that is within my

                                 3      custody, control or possession:

                                 4                   iii.     Castana Trust Checking Account, JP Morgan Chase Bank Checking
                                 5            Account (*2051 ). As of the date of this Supplement to Answer, the approximate

                                 6            value of said Chase Checking Account (*2051) is 1,679.10 (as of 07-06-2021).

                                  7                  iv.      Castana Trust Savings Account, JP Morgan Chase Bank Account

                                 8            (*3364). As of the date of this Supplement to Answer, the approximate value of
                                 9            said Chase Savings Account (#3364) is 300.00 (as of 07-06-2021).

                               10             4.     Attached hereto as Exhibit C is a true and correct copy of the most recent

                               11       Bank Statement dated July 6 2021, for the above-referenced Chase Checking Account

                               12       (*2051) and Chase Savings Account (#3364).

                               13             I hereby execute this Supplement to Answer of David Zinnel, Garnishee; and

                               14       declare under penalty of perjury that the foregoing is true and correct to the best of my

                               15       knowledge, information and belief.

                               16
                               17

                               18
                                        Dated: August 2, 2021
                                                                       ,1-;?~:s ?
                                                                             of the Castana Trust
                               19
                                                                             c/o   K. Greg Peterson, Esq.
                               20                                                  455 Capitol Mall, Suite 325
                                                                                   Sacramento, CA 95824
                               21                                                  Telephone: (916) 443-3010
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K.GREG PETERSON
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                                                            SUPPLEMENT TO ANSWER OF DAVID ZINNEL, GARNISHEE
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                                     Case: 22-16128, 07/25/2023, ID: 12761541, DktEntry: 15, Page 96 of 96
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                             1                                    CERTIFICATE OF SERVICE

                             2            The undersigned hereby certifies that he/she is a person of such age and
                             3      discretion to be competent to serve papers.
                             4            That on August 2, 2021, I served a copy of the attached Supplement to Answer of

                             5      David Zinnel, Garnishee, by placing copies in a postage paid envelopes addressed to the

                             6      addresses shown below, which are their last known addresses, and by depositing the
                                    envelopes and contents in the United States mail at Sacramento, California.
                             7
                                    Addressees
                             8
                                          STEVEN ZINNEL, 66138-097
                             9            Federal Correctional Institution
                          10              FPC Sheridan
                                          Inmate Mail/Parcels
                          11              P. 0. Box 6000
                                          Sheridan, OR 97378-6000
                          12
                                          United States Attorney's Office
                          13
                                          LYNN TRINKA ERNCE
                          14              Assistant United States Attorney
                                          501 I Street, Suite 10-100
                          15              Sacramento, CA 95814
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(.GREG PETERSON
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                                                     SUPPLEMENT TO ANSWER OF DAVID ZINN EL, GARNISHEE
